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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                              NORTHERN DIVISION

JANE DOE,                                  )
                                           )
            Plaintiff,                     )
                                           )
      vs.                                  )         Case No. 2:19 CV 25 CDP
                                           )
MICHELLE CHAPMAN,                          )
                                           )
            Defendant.                     )

             MEMORANDUM AND ORDER OF CONTINUED STAY

      As discussed with counsel during today’s status conference, in light of

defendant’s stated intention to seek certiorari [141],

      IT IS HEREBY ORDERED that all proceedings in this case remain

stayed pending disposition of defendant’s petition for writ of certiorari to the

United States Supreme Court.

      IT IS FURTHER ORDERED that the parties shall file a joint status

memorandum with the Court within seven (7) days of the Supreme Court’s ruling

on defendant’s petition.



                                        _______________________________
                                        CATHERINE D. PERRY
                                        UNITED STATES DISTRICT JUDGE

Dated this 9th day of August, 2022.
